                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION

UNITED STATES OF AMERICA                            )
                                                    )
v.                                                  )       NO.3:10-00065
                                                    )       JUDGE CAMPBELL
QUINCY MARUICE FUQUA                                )

                                            ORDER

       Pending before the Court is Defendant Quincy Fuqua’s Motion to Suppress Statement

(Docket No. 189). The Court will hold a hearing on the Motion at the pretrial conference scheduled

for November 28, 2012, at 10:00 a.m.

       It is so ORDERED.

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                                                    TODD J. CAMPBELL
                                                    UNITED STATES DISTRICT JUDGE




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